            Case 1:16-cv-00556-AJN-GWG
            Case 1:16-cv-00556-AJN-GWG Document
                                       Document171
                                                170 Filed
                                                     Filed12/12/18
                                                           12/12/18 Page
                                                                     Page11ofof12




   ME~10 ENDORSED
    .- ,·.': : _. :·_-·-----·=-============:::::::;i
ZACHA~- (%~T§IDNY                                      THE CITY OF NEW YORK                 CHRISTOPHER G. ARKO
Corporal Counsel                                                                                      Senior Counsel
    , DOCUMENT                                         AW DEPARTMENT                                  (212) 356-5044
                                                                                                 (212) 356-3509 (fax)
                                                         100 CHURCH STREET
      ELECTRONICALLY FILED                               NEW YORK, NY 10007
                                                                                                  carko@law.nyc.gov

       DOC #:                       ;    ·-f--
     l
    1, D A:TE FILED:          i2   /,-::i.-/(?
    L-·::..  =========--=. .==-===.1
           =--
                                                                              December 12, 2018

     ByECF
     Hon. Gabriel W. Gorenstein
     Chief United States Magistrate Judge
     Southern District of New York
     500 Pearl Street
     New York, NY 10007




     Yo rHonor:

           I am a Senior Counsel in the Special Federal Litigation Division of the New York City
     Law Department, attorney for defendants Miles Holman, Michael Holman, Evan Mele, Patrick
     Venetek, and Daniel Barreto. I write to respectfully request a four week extension of discovery.

             Pursuant to Your Honor's Individual Practices Rule IE, defendants respectfully request
     that discovery be extended to January 11, 2019. Defendants respectfully request that subsequent
     deadlines be adjusted as follows: any summary judgment motion shall be filed on February 15,
     2019; if no such motion is filed, plaintiff is to file his Pretrial Statement in accordance with
     Paragraph 10 of District Judge Nathan's Special Rules of Practice in Civil Pro Se Cases by
     February 8, 2019. This is the sixth request for an extension of discovery in this matter. Plaintiff
     consents to this request.

             By way of a status update, plaintiff, all defendants, and two non-parties have now been
     deposed. A subpoena for all documents that Services for the Underserved ("SUS") possesses
     related to plaintiff for the period November 1, 2015 through June 30, 2016 was served and SUS
     is processing it.

            The requested extension is necessary because on November 30, 2018, SUS produced an
     incident report that defendants believe is related to this incident. However, defendants did not
     learn who the author of the report was until non-party Adam Wawrynek's deposition on
     December 6, 2012. Moreover, it appears that plaintiff contests that the report relates to this
     incident. Accordingly, defendants intend to depose the report's author, SUS employee and non-
     party Molly McCracken, to explore the incident report further. Plaintiffs pro bona deposition
     counsel Aubrey Smith intends to represent plaintiff at this deposition. However, Mr. Smith is
